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 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          Case No. 2:11-cr-0119 WBS

12                                 Plaintiff,           STIPULATION AND [PROPOSED] ORDER
                                                        CONTINUING THE SENTENCING OF
13                          v.                          DEFENDANT JORGE SANDOVAL

14   JORGE SANDOVAL,

15                                 Defendant.

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17          Plaintiff, United States of America, by its counsel, Assistant United States Attorney Jason Hitt,

18 and defendant Jorge SANDOVAL, by and through his counsel Tim Pori, Esq., stipulate and agree that

19 the existing sentencing date of April 25, 2016, should be vacated and continued to May 23, 2016, at 9:00

20 a.m.

21          The parties request this continuance because Mr. Pori is unavailable for sentencing on April 25,

22 2016, because he is involved an ongoing state criminal trial. Defense counsel did not anticipate that the

23 trial would still be underway by April 25, 2016, but unanticipated delays have slowed the pace of that

24 state trial.

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      STIPULATION AND [PROPOSED] ORDER                   1
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             Case 2:11-cr-00119-WBS Document 242 Filed 04/20/16 Page 2 of 3

 1          In addition, the parties will use the additional time to prepare sentencing materials to assist the

 2 Court in determining the appropriate sentence in this case.

 3          IT IS SO STIPULATED.

 4                                                            BENJAMIN B. WAGNER
                                                              United States Attorney
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 6 Dated: April 20, 2016                                      /s/ JASON HITT
                                                              JASON HITT
 7                                                            Assistant United States Attorney

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10 Dated: April 20, 2016                                      /s/ TIM PORI, Esq.
                                                              TIM PORI, Esq.
11                                                            Counsel for Defendant SANDOVAL, authorized
                                                              to sign for Mr. Pori on April 20, 2016
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      STIPULATION AND [PROPOSED] ORDER                    2
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            Case 2:11-cr-00119-WBS Document 242 Filed 04/20/16 Page 3 of 3


 1                                                 ORDER
 2 Based upon the representations and stipulation of counsel, IT IS HEREBY ORDERED that:

 3                1.     The sentencing for defendant Jorge SANDOVAL on April 25, 2016, at
 4 9:00 a.m. is VACATED; and

 5                2.     Sentencing for this defendant is set for May 23, 2016, at 9:00 a.m.
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 7         IT IS SO ORDERED.
 8   Dated: April 20, 2016

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